    Case 3:97-cr-00048-EBB   Document 1607    Filed 09/17/07   Page 1 of 1



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

UNITED STATES                     :
                                  :
     v.                           :       Crim. No. 3:97-CR-48 (AHN)
                                  :
JAMES SHEA                        :



                                  ORDER



     For the reasons stated on the record at the August 29, 2007

and September 6, 2007 hearings on the petition for the revocation

of supervised release as to James Shea [doc. # 1600], the court

hereby orders the United States Marshals Service to transfer and

release James Shea to the custody of Crossroads Inc., 54 East

Ramsdell Avenue, New Haven, Connecticut 06515, for the purpose of

drug treatment.

     SO ORDERED this 17th day of September, 2007, at Bridgeport,

Connecticut.


                                                     /s/
                                            Alan H. Nevas
                                          United States District Judge
